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AO 245B (CASDRev. 08/13) Judgment in a Criminal Case

 

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF CALIFORNIA ev

 

 

 

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UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
V_ (For Offenses Committed On or After November l, 1987)
JORDAN HERNANDEZ (0])

Case Number: l'/'CR1629-AJB

Ricardo M. Gonzalez
Defendant’s Attomey
REGISTRATION No. 62001298

|:| __
THE DEFENDANT:

|"_i] pleaded guilty to count(s) One and Two of the Information

 

|:| was found guilty on count(s)

 

aRer a plea of not auiltv.
Accordingly, the defendant is adjudged guilty of such count(S), which involve the following offense(s):

 

Count

Title & Section Nature of Offense Number§s[
21 USC 952, 960 .Importation of Methamphetamine 1
21 USC 952, 960 lmportation of Heroin 2

The defendant is sentenced as provided in pages 2 through 4 of this judgment
T he sentence is imposed pursuant to the Sentencing Reform Act of 1984.
|:| The defendant has been found not guilty on count(s)
[] Count(s) is dismissed on the motion of the United States.

 

Assessrnent : $100.00 - As to each Count
Total Assessment $200.00

|E Fine waived g Forfeiture pursuant to order filed

, included herein.

IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attomey of

any material change 1n the defendant’ s economic circumstances

 

 

 

HON. ANTHONY J. B T GLlA
UNITED STATES S CT JUDGE

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DEFENDANT: JoRDAN HERNANDEZ (01) Judgment - rage 2 or 4
CAsE NUMBER; 17CR1629~AJB

 

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term
TH]RTY- SEVEN (3 7} MONTHS, As to each Count, to mn Concurrent.

|:l Sentence imposed pursuant to Title 8 USC Section 1326(b).

III The court makes the following recommendations to the Bureau of Prisons: '

The court recommends custody be served in the Western Region, Victorville FCC for purposes of
vocational and education rehabilitation.

The Court recommends that the defendant participate in the RDAP (500) Hour Drug Treatment
Program.

ij The defendant is remanded to the custody of the United States Marshal.

ill The defendant shall surrender to the United States Marshal for this district:

l:l at A.l\/I. on

 

ij as notified by the United States Marshal.

The defendant shall surrender for service of sentence at the institution designated by the Bureau of
Prisons:

|I| on or before
l:l as notified by the United States Marshal.

II| as notified by the Probation or Pretrial Services Offlce.

 

 

 

 

RETURN
l have executed this judgment as follows:
Defendant delivered on to
at , with a certified copy of this judgment
UNITED STATES MARSI-IAL
By DEPUTY UNITED STATES MARSHAL

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DEFENDANT: JORDAN HERNANDEZ (Ol) Judgment - Page 3 of 4
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SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
THREE (3) YEARS, As to each Count, to run Concurrent.

The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons unless removed from the United States.

The defendant shall not commit another federal, state or local crime.
For offenses committed on or ajar September 13, 1994:

The defendant shall not illegally possess a controlled substance The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
therea&er as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during the
term of supervision, unless otherwise ordered by court.

The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of future

g substance abuse. (Check, ffapplfcable.)
m The defendant shall not possess a iirearm, ammunition, destructive device, or any other dangerous weapon.
m The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis

Backlog Elimination Act of 2000, pursuant to 18 USC section 3583(a)(7) and 3583(d).

The defendant shall comply with the requirements of the SeX Offender Registration and Notification Act (42 U.S.C. § 16901, et
l:l seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
resides, works, is a student, or was convicted of a qualifying offense. (Check ifapplfcable.)

g The defendant shall participate in an approved program for domestic violence. (Check r`fapplicable.)

If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the defendant pay any
such fine or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of
Payments set forth in this judgment

The defendant shall comply with the standard conditions that have been adopted by this court. The defendant shall also comply
with any special conditions imposed.

STANDARD CONDITIONS OF SUPERVISION

l) the defendant shall not leave the judicial district without the permission of the court or probation officer;

2) the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;

3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;

4) the defendant shall support his or her dependents and meet other family responsibilities;

5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
reasons;

6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance or
any paraphernalia related to any controlled substances, except as prescribed by a physician;

8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
unless granted permission to do so by the probation officer;

10) the defendant shall permit a probation officer to visit him or her at any time at horne or elsewhere and shall permit confiscation of any contraband
observed in plain view of the probation officer;

l l) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;

12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of
the court; and

13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal record or
personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant’s compliance
with such notification requirement

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SPECIAL CONDITIONS OF SUPERVISION

1. Not enter or reside in the Republic of Mexico without permission of the court or probation officer.

2. Participate in a program of drug or alcohol abuse treatment, including drug testing and counseling, as
directed by the probation officer. Allow for reciprocal release of information between the probation officer
and the treatment provider. May be required to contribute to the costs of services rendered in an amount
to be determined by the probation officer, based on ability to pay.

3. Report all vehicles owned or operated, or in which you have an interest, to the probation officer.

4. Submit your person, property, residence, office or vehicle to a search, conducted by a United States
Probation Officer at a reasonable time and in a reasonable manner, based upon reasonable suspicion of
contraband or evidence of a violation of a condition of release; failure to submit to a search may be grounds
for revocation; the defendant shall Warn any other residents that the premises may be subject to searches
pursuant to this condition

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